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Exhibit 9
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February 5, 2014

Via e-mail only: gerards@branstetterlaw.com
J. Gerard Stranch, IV

BRANSTETTER, STRANCH & JENNINGS

227 Second Avenue North

Nashville, TN 37201

Dear Gerard:

We reviewed and considered the Plaintiffs’ Steering Committee’s (“PSC”)
proposed CMO regarding discovery and bellwether selection. The proposed deadlines
may seem plausibly achievable in the abstract, but, when considered in the context of
the amount of work required at each step, it is readily apparent that the deadlines simply
are not manageable. Frankly, we believe that the proposal does not reflect serious
consideration of the amount of work required at each step of the discovery .and
bellwether selection process.

Throughout this litigation, the PSC has consistently sought extensions to the
deadlines in CMOs the PSC itself asked the Court to enter.’ Extensions to meet
deadlines in litigation of this size and complexity are understandable. But, setting
deadlines that inevitably require repeated extensions contributes to rushed work,
sacrifices efficiency, and leads to serial motions to alter the deadlines.

' See, e.g., Motion for Extension of Time to File Mediation Order [Dkt. 363]; Request for Extensions to
File Master Complaint and Short Form Complaint [Dkt. 395]; Motion to Extend Deadlines in Previous
CMO and to Revise CMO [Dkt. 421]; Motion to Extend Deadlines Set Forth in Mediation Program {Dkt.
487], Motion for Extension of Time to File Master Complaint as to Affiliated Defendants [Dkt. 540]; Motion
to Extend Deadline for Filing List of Subpoena Recipients Named as Defendants [Dkt. 574]; Motion for
Extension of Time to Respond to Traveler's Motion to Quash [Dkt. 737]; Motion to Extend Deadline for
Filing Master Complaint Against Affiliated Defendants [Dkt. 741]; Motion for Extension of Deadline to
Respond to Trustee’s Renewed Motion to Transfer [Dkt. 760]; Motion for Additional Extension of Time to
Respond to Traveler’s Motion to Quash [Dkt. 765].
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We prefer to plan on the front-end, setting out a reasonable and manageable
progression of this litigation specific to the Tennessee defendants rather than
unworkable deadlines, in the hope of avoiding unnecessary expenditure of time and
resources.

With that in mind, we set forth the changes that we believe must be made to the
proposed discovery and bellwether CMO for it to serve as an actual scheduling order for
these cases, rather than another CMO requiring serial post hoc modifications. Attached
please find our counterproposal incorporating these changes into the CMO we received
from you on January 24, 2013.

Of course, we are willing (and expecting) to meet and confer on the now
competing proposals. Our general position, however, is outlined below.

I. Separate Order for Common Discovery

First and foremost, this CMO needs to be split into (at least) two separate orders.
One order should address common fact and expert discovery with hard deadlines. If you
insist on entering a CMO on bellwether selection, at this point, the order(s) should only
set forth a basic framework, without deadlines, for bellwether selection and case-
specific discovery.

At this stage, there are simply too many unknowns (e.g., the status of NECC, the
status of other Affiliated Defendants, the form and substance of the Plaintiff Profile
Form, the ease or difficulty with which certain discovery will occur, which legal claims
will survive dismissal, etc.) to set deadlines for case-specific discovery and bellwether
selection.

We should, at this point, concentrate on establishing a realistic plan for
conducting common discovery, which will efficiently usher us into case-specific
discovery and bellwether selection.

A. Tennessee-Specific Mediation

At the conclusion of common discovery, when reciprocal discovery has occurred
sufficient to more fully evaluate factual issues, liability issues, and potential exposure,
time should be allotted to explore a Tennessee-specific mediation. We anticipate that
the mediation would be contingent upon participation by al/ Tennessee Plaintiffs and the
use of a single mediator familiar with Tennessee law. Given the number of moving
parts, it is safe to assume that such a mediation will take a significant amount of time
and planning, which the CMO should take into account.
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B. Unknowns in Common Discovery

There are simply too many unknowns in the common discovery phase to
accurately predict how much time that phase will actually take, such that bellwether
selection and case-specific discovery hard deadlines cannot be set now. For example,
without knowing how many expert depositions need to be taken, setting a reasonable
deadline for completion of common expert discovery and initiation of bellwether
selection requires nothing less than pointless speculation.

Similarly, common discovery of the Affiliated Defendants must also occur at this
stage, but there is currently a stay in place. The settlement with NECC has not been
submitted to the bankruptcy court for approval, indicating that details are still being
hammered out. Without knowing when the stay will be lifted or the status of NECC,
setting a reasonable timetable to complete common discovery and start case-specific
discovery presents challenges, and setting deadlines for selection of trial cases and
pretrial deadlines is virtually impossible to do with any degree of accuracy.

C. Premature Bellwether CMO

Finally, the Court ordered us to begin discussing a discovery plan, not a
bellwether process. The Court has given no indication that it is ready to establish a
bellwether scheduling order, which Judge Saylor tabled only 45 days ago.” While there
might be some ‘utility in having a bellwether selection framework in place in the near
future, setting deadlines that will inevitably be changed is inefficient and premature.

Il. Material Omissions
Several important items are omitted from the PSC’s proposal, as outlined below.
A. Discovery of Affiliated and National Defendants
The proposed CMO fails to address discovery as to the Affiliated Defendants.

At this point, the Unaffiliated Defendants do not even know who the parties to the
proposed settlement are, much less when and how discovery of the Affiliated
Defendants will progress. NECC’s status in this litigation — and that of the Affiliated
Defendants — must be resolved before constructing a complaint-to-trial schedule for this
litigation. Specifically, the status of NECC and the Affiliated Defendants will drastically
shape the common discovery process.

The same issue exists with respect to the National Defendants, at least one of
which, UniFirst, appears to be actively litigating, but is totally omitted from this CMO.

? [Dkt. 721].
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B. PSC’s Initial Disclosures

There is no deadline for common initial disclosures from the PSC. We have been
asked to produce initial disclosures, which we stand ready and willing to do, but fairness
dictates a reciprocal common production from the PSC. We have discussed this on
multiple occasions, including at the meet and confer at your office on October 25, 2013,
and our understanding was that the PSC agreed to produce common initial disclosures.
We can only assume that there are common documents and witnesses that have not
been disclosed to this point due to the lack of common discovery requests directed to
the PSC. Initial disclosures are the logical beginning of this process.

C. Defendants’ Common Discovery Requests

Likewise, the CMO does not allow us to serve common discovery requests on
the PSC, which we have discussed on multiple occasions during meet and confers at
your office and by phone. We have held our master set of discovery for months out of
respect for the Court’s intent to enter an organized discovery plan before launching into
discovery. The discovery process cannot be one-sided. There are questions we wish to
direct in a common fashion and common facts we need to establish. The CMO should
include deadlines to accomplish these tasks.

D. Case-Specific Discovery Stay

The CMO does not stay case-specific discovery pending completion of common
discovery and selection of the initial trial pool. We do not expect the Plaintiffs to respond
to case-specific discovery for the time being, and we should not be subjected to
discovery from individual Plaintiffs in addition to the PSC.

E. Elements Required by FRCP

The CMO affirmatively states that it complies with FRCP 26(f), but it actually fails
to do so.

The CMO omits several elements of a FRCP 26(f) discovery plan, including (1)
limitations on the number of discovery requests; (2) parameters for production of
electronically-stored information (“ESI”); and (3) privilege logs.

Similarly, the CMO purports to satisfy FRCP 16 but fails to do so. The order
contains no deadline for joining parties and/or amending complaints. Both are expressly
required by FRCP 16(b)(3)(A).

Additionally, FRCP 16(b)(3)(A) requires a scheduling order to include deadlines
for filing motions. Section Il. of the CMO is titled “Common Issue Discovery and
Common Dispositive Motions Deadlines,” but it does not actually set any deadlines for
dispositive motions.
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The CMO should also include a supplementation deadline for discovery
responses and initial disclosures.

F, Rebuttal Experts

The CMO fails’to define “rebuttal expert.” Frankly, we see no reason the PSC
needs rebuttal experts in this case. The PSC’s position before the Court is that these
cases are not complex.* Such a simple case should require no rebuttal experts. lf the
PSC feels that it needs rebuttal experts after receiving the Defendants’ expert
disclosures, the PSC should have to demonstrate good cause as to why those experts
were not already retained and/or disclosed, especially in light of the fact that the
common issue fact discovery will be complete by that time. If rebuttal experts are to be
contemplated by the CMO, the term should be defined, and a mechanism for surrebuttal
experts included in the CMO.

lil. Overarching Issues with Deadlines

The PSC sent this proposal to us on a Friday afternoon (January 24), suggested
a meet and confer on Monday (January 27), and unilaterally proposed that any
competing proposal be filed by January 31. A meaningful discovery plan governing
hundreds of cases in this complex litigation with dozens of moving parts and the status
of the primary wrongdoer unresolved, cannot be thrown together in a week.

A. Attorney Calendars Not Considered

Attached is an affidavit we will file with our counterproposal outlining C.J.
Gideon’s current trial calendar for 2014. The PSC can often substitute another attorney
if one of the members is unavailable on a given date since all members of the PSC
have the same interests. That is not true for the various Defendants. Each Defendant's
interests are different and must be independently represented during the discovery
process.

As Mr. Gideon represents at least one client in all of the roughly 150 cases from
Tennessee currently pending in the MDL, he intends to take an active role in the
discovery process, particularly for depositions. Simply put, to craft a fair and reasonable
discovery plan, calendars of the primary attorneys involved in these cases must be
considered in setting deadlines.

B. Time for Review of Plaintiff Profile Forms
A prime example of the PSC’s unreasonable deadlines is the CMO’s requirement

that Defendants notify Plaintiffs of any “material deficiencies” with the Plaintiff Profile
Forms (“PPF”) within 15 days of receipt of the PPFs.

3 PSC’s Resp. to Tennessee Defendants’ and Saint Thomas Entity’s [sic] Proposals Regarding Profile
Form and Authorizations, p. 3 [Dkt. 835].

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First, at this point, Magistrate Judge Boal has not ruled uopon the form and
substance of the PPF.

Second, regardless of the ultimate form and substance, more than 100 Plaintiffs
will be completing the PPF. The PPFs will need to be crosschecked against the records
of each Plaintiff to ensure the completeness of disclosures regarding, for example,
treating health care providers and underlying health conditions. That comparison cannot
even begin until (1) the Plaintiffs return the records releases with the PPFs, (2) the
Plaintiffs’ records are obtained using the releases, and (3) the records are reviewed.

Put simply, 15 days is barely enough time to read all 100+ PPFs, let alone
conduct any meaningful analysis and provide a substantive description to the PSC or
individual Plaintiffs’ attorneys of the perceived deficiencies.

Similar, unreasonable time considerations pervade the proposed CMO. Some
are mentioned herein. Others are addressed with proposed edits in our
counterproposal.

C. Common Discovery Deadlines*

In light of the extensive discovery necessary from the Affiliated Defendants, the
common discovery deadlines are much too short.

The PSC has a major head-start on this discovery due to its access to the
roughly 40,000 documents received informally from NECC, which are completely
ignored by the CMO, and the documents previously produced by our clients in the four
(4) state court cases filed and nonsuited in early 2013. The PSC has had many months
to review and analyze those documents and will also have time during the common
discovery phase to continue to work through them.

Accordingly, we will need adequate time to analyze the 40,000 NECC
documents, in addition to other discovery from the Affiliated Defendants and various
third parties. We have tried for months to access the NECC documenis, but the PSC
has refused to grant us access, citing a still unseen agreement with the Trustee.

4 The unreasonableness of the PSC’s proposed deadlines is equally pervasive in the portion of the CMO
pertaining to bellwethers and case-specific discovery. For example, the deadline for disclosing case-
specific experts mirrors the unreasonably short deadline to disclose common experts discussed in
Section Ill., C. However, as discussed above, setting reasonable deadlines for those phases of the case
is pure guesswork at this point. We do not specifically address the case-specific deadlines here, as we
believe case-specific discovery deadlines should be addressed after the completion of common discovery
(or, at least, after significant common discovery has occurred) and the nature of the litigation has taken a
more defined form.

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We do not know the form, searchability, accessibility, or substance of these
40,000 documents, some or all of which are presumably crucial to the litigation. The
common discovery deadlines need to account for the time necessary for us to review
those thousands of documents.

D. Common Expert Deadlines
Obviously, fact discovery from the Affiliated and National Defendants is

necessary to provide our experts the information they need to support their opinions.
Your proposed CMO provides a mere 30 days from the conclusion of common fact

discovery to:

(1) Analyze the information obtained during discovery,

(2) Send it to experts,

(3) Allow the experts time to review the information,

(4) Meet with the experts to discuss their opinions, and

(5) Draft FRCP 26(a)(2)(B) reports outlining the experts’ opinions.
That is simply not enough time to complete expert reports, and it will result in barebones
expert reports that will need to be extensively supplemented or, more likely, a request
for additional time to complete them. Setting these unreasonable deadlines now only
guarantees revisions and extensions later.

E. Removal of Specific Dates

All deadlines in the order need to be expressed by number of days from an event.
because we do not know when the discovery plan will be entered.

IV. Bellwether Framework

The prudent course is to enter a common discovery plan at this point and stop
there. To the extent the PSC insists on putting a bellwether framework in place at this
stage, there are several issues with the proposal.
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A. Meet and Confer on Appropriateness of Bellwether Trials

There is no procedure or timeframe for determining whether bellwethers are even
appropriate. Until we aggregate the data from the Plaintiff Profile Forms, we do not.
know whether representative cases can be identified or whether bellwether trials can
assist in resolving the litigation. Once we have aggregated the data and reviewed the
Plaintiffs’ records, we will need to confer regarding whether bellwethers are appropriate.
If we disagree, the Court will need to resolve our disagreement. The CMO should
include a procedure and schedule for this process.

B. One-Sided Bellwether Process

The PSC’s proposed bellwether process omits the intermediate stage of creating
an initial bellwether pool for case-specific discovery, which we thought the parties had
agreed to in principle during the meet and confer process regarding the Plaintiff Profile
Form.° We proceeded on the understanding that we would have the opportunity to
conduct case-specific discovery before choosing proposed bellwether trial cases. Many
of the concessions we agreed to make regarding the Plaintiff Profile Form were based
on that understanding. The PSC’s proposal omits the intermediate level of discovery
and requires us to choose bellwether trial cases based only on the Plaintiff Profile
Forms.

To remedy this issue, we propose:

(1) Populating the Initial Trial Pool using the Plaintiff Profile Forms with more
than the number of cases that will become the First Bellwether Trials,°

(2) Conducting case-specific discovery for those cases, and

(3) Conferring regarding a procedure for selecting the First Bellwether Trials
from the Initial Trial Pool’.

5° This intermediate stage of discovery is also specifically advocated by Judge Eldon E. Fallon’s article
regarding bellwether trials which the PSC cited and attached to its Memorandum in Support of its
Bellwether Trial and Pre-Trial Scheduling Order [Dkt. 838, Ex. 2]. Eldon E. Fallon, et al, Bellwether Trials
in Multidistrict Litigation, 82 TUL. L. REv. 2323 (2008) [hereinafter “Fallon”]. Judge Fallon cautions that
skipping this intermediate step “is problematic because, as can often happen, a case that appears to be
favorable or representative early in the litigation process (when the pool is initially filled) may be
eventually determined to be unrepresentative or grossly unfavorable once case-specific discovery is
complete.” Fallon at 2347.

8 Fallon at 2347 (“[A] pool consisting of twenty cases should be satisfactory for situations in which the
transferee court intends to hold approximately six trials....”).

7 We intend for this procedure to be put in place before conclusion of case-specific discovery.

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The numbers and deadlines can be set later, but the general framework makes
sense. It provides Defendants the opportunity to learn what the PSC already knows
about the individual Plaintiffs in the bellwether pool so that the bellwether process is not
a one-sided affair. We can limit the number of cases in the Initial Trial Pool to minimize
burden and expense while providing the parties options in choosing bellwethers.

We think it is simply too soon to set deadlines for case-specific discovery and the
bellwether selection process but recognize that putting a framework in place could be
useful.

KRkKKkK KKK

We propose setting a meet and confer after all parties have had the chance to
consider our respective proposals. Please contact me once you have considered our
proposal so that we can schedule a time to meet and confer.

Thank you.
Very truly yours,
Chris. J. Tardio
MHC/cjt

Enc. Affidavit of C.J. Gideon, Jr.; Proposed CMO for Common Discovery; Proposed
CMO for Bellwether Selection and Case-Specific Discovery
